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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

                                                     CRIMINAL No. 13-227

       v
                                                    JUDGE: Joy Flowers Conti
NICHOLAS TROMBETTA




                   MOTION TO TERMINATE SUPERVISED RELEASE
                        WITH CITATION OF AUTHORITY

       AND NOW comes, Nicholas Trombetta, by and through his attorney, Steven C.

Townsend, Esquire, and files this Motion to Terminate Supervise Release and Citation of

Authority, and in support thereof avers:

            1. On or about August 21, 2013, Mr. Trombetta was indicted at the above case

               number with violations of 18 U.S.C. § 341, 18 U.S.C. § 666 (a)(1)(B), and 26

               U.S.C. § 7206 (1). (Doc. 3)

            2. On or about August 28, 2013, Mr. Trombetta entered a plea of Not Guilty to the

               Indictment. (Doc. 28)

            3. On August 24, 2016, Mr. Trombetta changed his plea to Guilty at Count 6 of the

               Indictment. (Doc. 237)

            4. On July 24, 2018, this Honorable Court sentenced Mr. Trombetta at Count 6 to 20

               months of incarceration, 3 years supervised release, $100 special assessment, 40

               hours of community service to be completed within 17 months of his supervised

               release, and restitution, which was deferred to another hearing date. (Doc. 387)




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           5. On August 8, 2018, Mr. Trombetta satisfied the $100 special assessment. (Doc.

               393)

           6. Mr. Trombetta was afforded the opportunity to self-report, which he did on

               September 4, 2018.

           7. Mr. Trombetta served his sentence of incarceration in Morgantown, West

               Virginia - FCI Hazelton.

           8. He participated in the following programs: tutoring, bible study, teaching and

               assisting other inmates seeking to obtain their GED, catholic services coordinator

               and computer literacy and job training.

           9. On October 15, 2019, Mr. Trombetta was release home confinement.

           10. As of November 16, 2021, Mr. Trombetta has paid restitution in full in the

               amount of $387,632.00. (Exhibit A)

           11. As of February 20, 2022, Mr. Trombetta has completed a total of 1072 combined

               community service hours at TRAILS Ministries and Reclaim. (Exhibits B & C)

           12. Upon review of this Motion, the Unites State Probation Office takes no position

               to the requested relief contained herein.

           13. Upon review of this Motion, the United States does not object to the requested

               relief contained herein.

                                CITATION OF AUTHORITY

       Mr. Trombetta is eligible otherwise for early termination of his supervised release as he

has completed more than a year of his supervised release sentence, and is an appropriate

candidate for early termination because of his extraordinary progress, amount of community




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service, other special circumstances discussed below and pursuant to 18 U.S.C. § 3583 (E)(1).

Specifically:

                (e) The court may, after considering the factors set forth in section

                3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and

                (a)(7), terminate a term of supervised release and discharge the

                defendant released at any time after the expiration of one year of

                supervised release, pursuant to the provisions of the Federal Rules

                of Criminal Procedure relating to the modification of probation, if

                it is satisfied that such action is warranted by the conduct of the

                defendant released and the interest of justice.

                18 U.S.C. § 3583(e)(1)

       The above provision requires the court to consider the following 18 U.S.C. § 3553 (a)

sentencing factors:

                (1) the nature and circumstances of the offense and the defendant’s

                history and characteristics; (2) the need to afford adequate

                deterrence to criminal conduct, protect the public from further

                crimes of the defendant, and provide him with needed educational

                or vocational training, medical care, or other correctional treatment

                in the most effective manner; (3) the kinds of sentence and

                sentencing range established for the defendant’s crimes; (4)

                pertinent policy statements issued by the United States Sentencing

                Commission; (5) the need to avoid unwarranted sentence

                disparities among defendants with similar records who have been




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               found guilty of similar conduct; and (6) the need to provide

               restitution to any victims of the offense.

       Therefore, the statute directs the Court to consider, to the extent applicable, those factors

under 18 U.S.C. § 3553(a) it considered when imposing sentence. After weighing these factors,

this Court has broad discretion to discharge Mr. Trombetta from his remaining term of

supervision.

       Further, the Judicial Committee on Criminal Law has recognized early termination of

supervised release as an important tool for ensuring the most effective use of precious human

and financial resources. See Memorandum re: Cost-Containment Strategies Related to Probation

and Pre-Trial Services Offices, Committee on Criminal Law of the Judicial Conference of the

United States at 2 (Feb. 16, 2012) (“Terminating appropriate cases before they reach their full

term saves resources and allows officers to focus on offenders who continue to pose the greatest

risk of recidivism.”). See also Laura M. Baber and James L. Johnson, Early Termination of

Supervision: No Compromise to Community Safety, 77-SEP Fed. Probation 17, 21–22 (2013)

(reporting results of study indicating that early termination does not compromise community

safety and noting “significant” cost savings).

       The Third Circuit has recently addressed early termination of supervised release stating

that “extraordinary circumstances may be sufficient to justify early termination of a term of

supervised release, but they are not necessary for such termination. See United States v. Murray,

692 F.3d 273, 279 (3d Cir. 2012). Here, it is submitted that there are extraordinary circumstances

to terminate Mr. Trombetta’s supervision.

       Mr. Trombetta’s commitment to the community is over and above what this Court

directed and is a true sign of Mr. Trombetta’s devotion and pledge to turn his life around after his




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conviction. It is often said by a defendant at sentencing that he/she is never going to commit

another crime and will do better if given another chance, but as this Court is aware those words

often are illusory promises. Instantly, Mr. Trombetta made good on his words from his

sentencing and has demonstrated his commitment with his actions.

           Mr. Trombetta respectfully submits that his post-offense conduct and successful

completion of 23 months of his 36 months supervised release warrant this Court’s granting his

request for early termination of his supervision sentence. Mr. Trombetta’s adjustment to

supervision has been excellent for 23 months without any violations. He has remained crime-

free, violation-free, and is steadily employed with Certify-Ed1. With the background and current

nature of Mr. Trombetta’s work, he certainly does not represent a danger to the public.

           Specifically, Mr. Trombetta has returned to the workforce with Certify-Ed and as a

consultant for Malady-Wooten. He has assisted in the growth of adult education and career

technical courses by providing guidance, which required and still requires extensive travel in

order to participate in meetings and strategic planning sessions.

           Currently he has over 1,000 hours of community commitment with TRAILS Ministries.

TRAILS Ministries is committed to assisting communities impacted by incarceration. While

there, he has participated primarily in administration functions to streamline processes, improve

procedures and assist in establishing workplace policies. Most important he created vocational

educational courses to help prepare returning citizens learn job skills essential for the

construction and healthcare industries.




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    https://certify-ed.com is a virtual based certified online curriculum platform.




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       Worthy of note, Mr. Trombetta helped establish a new program that may have long term

affects on local communities in Western Pennsylvania, which is already having a real impact in

Beaver County. (Exhibit D)

       RECLAIM is a program within TRAILS that effectively provides the following for

individuals returning to society from sentences of incarceration: it provides hope, structure and

support for individuals through a program that consists of job training, employment and

sustainability. By working with national organizations and state and local entities, Mr. Trombetta

was able to assist in acquiring funding and in-kind support from other not-for-profit and for-

profit agencies. Mr. Trombetta’s early success will lead to longer term benefits to the participants

and to the communities affected by blight. (Exhibit E)

       Therefore, for the above reasons it is respectfully submitted that there is no further need

for continued supervision. Given his progress, compliance with the terms of supervision,

terminating Mr. Trombetta’s term of supervision would serve the interests of justice by allowing

the Probation Office to invest its resources in the supervision of those who truly need it.



       WHEREFORE, Mr. Trombetta respectfully requests that this Honorable Court enter an

Order terminating his supervise release.




                                                      Respectfully submitted,

                                                      s/ Steven C. Townsend, Esq.
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